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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                     FILED
                                                             for the                                              May 29, 2025
                                                 Western District of Texas                                 CLERK, U.S. DISTRICT COURT
                                                                                                           WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                        ac
                                                                                                       BY: ________________________________
                             v.                                 )                                                              DEPUTY
                                                                )       Case No. SA-25-MJ-849
                                                                )
                                                                )
                                                                )
                        Damian Soto                             )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 28, 2025                                in the county of Bexar                              in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
                                           Attempt to traffic firearms
18 U.S.C. § 933 (2) & (3)
                                           Penalties: Up to 15 Years Imprisonment, Maximum $250,000 Fine, or
                                           both such fine and imprisonment, Maximum 3 Years Supervised
                                           Release, and $100 Mandatory Special Assessment


         This criminal complaint is based on these facts:

See Attached Affidavit




              Continued on the attached sheet.

                                                                        CAMRON FLAVEL Digitally signed by CAMRON FLAVEL
                                                                                      Date: 2025.05.29 08:27:59 -05'00'
                                                                                           Complainant’s signature

                                                                        Camron C. Flavel, Special Agent
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:     May 29, 2025
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 Hon. Henry J. Bemporad, U.S. Magistrate Judge
                                                                                            Printed name and title
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Camron Flavel, being duly sworn do hereby depose and state:

1. Your affiant has been employed as a Special Agent with the Bureau of Alcohol, Tobacco,
   Firearms and Explosives (ATF) since September 2021 and is currently assigned to the San
   Antonio III Field Office. Prior to September 2021, I was employed as a United States Border
   Patrol Agent. I have a combined total of approximately six years of law enforcement
   experience and training with experience in investigations concerning violations of Title 18,
   including unlawful trafficking of firearms.

2. On May 13, 2025, ATF San Antonio III acting in an undercover capacity, posted five Scar
   rifles on an online platform.

3. On Friday May 16, 2025, Damian SOTO using the phone number ***-***-5726 contacted the
   ATF UC via text message inquiring about the firearms. The conversation between an ATF UC
   and SOTO continued between the dates of May 16, 2025, and May 28, 2025.

4. In the conversation, the ATF UC informed SOTO that the weapons were fully automatic
   machine guns and sent SOTO a video of the firearm being fired as a machine gun, operating in
   fully automatic – that is, firing more than one round with a single trigger pull.

5. The ATF UC and SOTO agreed to meet on May 28, 2025, to exchange three Scar rifle machine
   guns for approximately $19,500.00

6. On May 28, 2025, SOTO arrived at a pre-determined location agreed to by both SOTO and the
   ATF UC. This location is in San Antonio, Texas, in the Western District of Texas. During this
   transaction, SOTO was again informed that the weapons he was purchasing were machine guns.

7. As the transaction was concluding, the ATF UCs gave a pre-planned takedown signal, at which
   point ATF Special Agents approached in government issued vehicles with police emergency
   equipment and wearing ATF marked vests. ATF Special Agents took SOTO into custody
   without incident and transported him to the ATF San Antonio Field Office.

8. SOTO travelled to San Antonio with the purpose and intent to purchase (3) machine
   guns. Furthermore, SOTO had reason to believe that the firearms were illegal to possess
   because the UC informed him of their illegal nature. Despite this, SOTO still agreed to
   purchase the firearms. Finally, SOTO has reason to believe that the transfer of those
   machine guns would constitute a felony as outlined in Title 18 Section 922(o)
   (Knowing possession of a machinegun).
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9. Based on the above, your affiant believes probable cause exists that SOTO attempted to traffic
   firearms in violation of Title 18 United States Code Sections 933 (2) and (3).

                                     Respectfully submitted,

                                                                 Digitally signed by CAMRON
                                     CAMRON FLAVEL FLAVEL
                                                   Date: 2025.05.29 09:50:16 -05'00'
                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                     Special Agent Camron Flavel
                                     Bureau of Alcohol, Tobacco, Firearms, and Explosives




                                                                29th day of May, 2025
Subscribed to electronically and sworn telephonically on this _______




                                     ____________________________________
                                     HON. HENRY J. BEMPORAD
                                     UNITED STATES MAGISTRATE JUDGE




                                               2
